     Case 3:16-cv-02988-DMS-AGS Document 19 Filed 06/26/17 PageID.98 Page 1 of 1



 1
 2
 3
 4
 5
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10                                      )       Case No.: 3:16-cv-02988-DMS-AGS
      Susan Lindberg,                   )
11                                      )
12                  Plaintiff,          )       ORDER GRANTING MOTION FOR
      v.                                )       DISMISSAL OF ACTION WITH
13                                              PREJUDICE
                                        )
14                                      )
      General Motors Financial Company, )       HON. DANA M. SABRAW
15    Inc. d/b/a GM Financial and Able  )
16    Auto Adjusters, Inc.,             )
                                        )
17                       Defendants.    )
18
19              Based upon the Motion for Dismissal, and good cause, this Court hereby
20    orders the action to be, and is, dismissed with prejudice.
21            IT IS SO ORDERED.
22    Dated: June 26, 2017
23
24
25
26
27
28
      PROPOSED ORDER                            1
